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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   ENRIQUE HERNANDEZ, individually, Case No.: 5:20-cv-01608 SVW (KKx)
12   and on behalf of other members of the
     general public similarly situated;    Honorable Stephen V. Wilson
13                                         Courtroom 10A
14         Plaintiff,
                                           ORDER GRANTING DISMISSAL
15
           v.
16                                         Complaint Filed: June 15, 2020 Case
17
     MMR GROUP, INC., a Louisiana          Removed: August 10, 2020 Trial
     corporation; MMR CONSTRUCTORS, Date:             None Set
18   INC., a Louisiana corporation; and
19   DOES 1 through 100, inclusive;
20         Defendants.
21
22         The Court, having reviewed the Stipulation of Dismissal filed by the Parties
23   in this case, dismisses the entire action without prejudice. Each party shall bear its
24   own attorney's fees and costs.
25
26   DATED: October 16, 2020                 _____________________________
27                                           STEPHEN V. WILSON
28                                           UNITED STATES DISTRICT JUDGE


                                                     [PROPOSED] ORDER GRANTING DISMISSAL
                                                                    5:20-cv-01608-SVW (KKx)

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